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 6                      IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
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 9    Jamil Addullah Al-Amin,                         No. CV-21-00200-TUC-JCH (MSA)
10                  Petitioner,                       ORDER
11    v.
12    Danon Colbert, et al.,
13                  Respondents.
14
15          IT IS ORDERED that the Respondents' motion to seal (Doc. 40) is granted. The
16   Clerk of Court shall file under seal the Respondents' exhibit (lodged at Doc. 41).

17          IT IS FURTHER ORDERED that, on or before September 30, 2022, Petitioner
18   may file a reply to the September 6 response brief (Doc. 39).

19          Dated this 19th day of September, 2022.

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